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UNITED STATES DISTRICT COURT oe ees .
SOUTHERN DISTRICT OF INDIANA 15 JAN|2 PM 3:1]

EVANSVILLE DIVISION
UNITED STATES OF AMERICA ) ANA ,
Plaintiff )
Vv. , Cause No. 3:15-cr-
ROBERT JOSEPH HOWELL, ) 3 ° 15 -CI- 0 0 C 1 RLY Ww GH
Defendant. )

MEMORANDUM OF PLEA AGREEMENT

The United States of America, by counsel, Josh J. Minkler, Acting United
States Attorney for the Southern District of Indiana, and by James M. Warden,
Assistant United States Attorney, and the Defendant ROBERT JOSEPH
HOWELL, in person, hereby inform the Court that a Plea Agreement has been
reached in this cause pursuant to Federal Rule of Criminal Procedure
11(c)(1)(B) and the following are its terms and conditions:

1. ROBERT JOSEPH HOWELL agrees to plead guilty as charged to
the Information, which charges that the Defendant did willfully fail to file a tax
return, in violation of Title 26, United States Code, Section 7203. This
misdemeanor offense may be punished by a term of imprisonment of up to one
year, a fine of not more than $100,000, and a term of supervised release of not
more than one year following any term of imprisonment. The elements of this
offense as charged are:

First, the Defendant was a person required by law to file an individual
income tax return for the calendar year 2012;

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Second, the Defendant failed to file the return as required by law; and

Third, the Defendant acted willfully, that is, he knew that he was
required by law to file an income tax return and intentionally failed to do so.

2. ROBERT JOSEPH HOWELL agrees and understands that the
Court will use its discretion to fashion a sentence within the statutory range
set forth in Paragraph 1. ROBERT J OSEPH HOWELL agrees and understands
that the Court will consider the factors set forth in 18 U.S.C. § 3553(a) in
determining the appropriate sentence within the statutory range. ROBERT
JOSEPH HOWELL agrees and understands that the Court will also consult and
take into account the United States Sentencing Guidelines ("Sentencing
Guidelines” or "U.S.S.G.") in determining the appropriate sentence within the
statutory range. ROBERT J OSEPH HOWELL agrees and understands that the
Sentencing Guidelines are not mandatory or binding on the Court, but are
advisory in nature. ROBERT JOSEPH HOWELL agrees and understands that
the final determination of the sentence, including the applicable advisory
guideline calculation, criminal history category, and advisory sentencing
guideline range will be made by the Court. ROBERT JOSEPH HOWELL
acknowledges that this Plea Agreement is governed by Federal Rule of Criminal
Procedure 11(c)(1)(B) and that the determination of his sentence is within the
discretion of the Court. He understands that if the Court decides to impose a
sentence higher or lower than any recommendation of either party, or
determines a different advisory sentencing guideline range applies in this case,
or decides to depart from the otherwise applicable advisory sentencing

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guideline range, then he will not be permitted to withdraw his plea of guilty for
that reason and will be bound by his plea of guilty.

3. ROBERT JOSEPH HOWELL will pay a total of $25.00 on the date
of sentencing or as ordered by the Court to the Clerk, United States District
Court, which amount represents the mandatory special assessment fee
imposed pursuant to Title 18, United Sates Code, Section 3013.

4. ROBERT JOSEPH HOWELL agrees that as of the date of filing of
this Plea Agreement he will provide all requested financial information to the
Financial Litigation Unit of the United States Attorney’s Office for the Southern
District of Indiana for use in the collection of any fines and restitution imposed
by the Court, and authorizes the Financial Litigation Unit to obtain credit
reports relating to ROBERT JOSEPH HOWELL for use in the collection of any
fines and restitution imposed by the Court.

5. At the time of sentencing, the government is free to recommend
any lawful sentence it deems appropriate. The government reserves the right
to present evidence and argument on the issue of sentence.

6. In return for the plea of guilty to the Information entered by
ROBERT JOSEPH HOWELL, the United States Attorney’s Office for the
Southern District of Indiana agrees to seek no other charges against him only
with respect to the circumstances surrounding the matters charged in the

Information and the specific matters formally disclosed to him in July 2014.
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7. At the time of sentencing, the government will make known to the
Court, the nature, extent, and timing of the acceptance of the responsibility
demonstrated by ROBERT JOSEPH HOWELL.

8. The Defendant is free to request any lawful sentence he deems
appropriate and reserves the right to present evidence and argument in such
regard.

9. The parties agree that the imposition of a fine in this case is left to
the discretion of the Court.

10. The Defendant acknowledges that the tax loss in this case for
criminal prosecution purposes, including imposition of sentence, is $66,603.
ROBERT JOSEPH HOWELL agrees to pay the full criminal tax loss amount of
$66,603 to the Internal Revenue Service and agrees that such obligation will be
a condition of his supervised release, if supervised release is imposed by the
Court. The tax loss payments shall be fully allocated for tax year 2012.
ROBERT JOSEPH HOWELL also agrees to cooperate with the Internal Revenue
Service with regard to any civil or administrative investigation regarding the
matters covered in the Information.

11. |. ROBERT JOSEPH HOWELL understands that he has a statutory
right to appeal the conviction and sentence imposed and the manner in which
the sentence was determined. Acknowledging this right and in exchange for
the concessions made by the United States in this Plea Agreement, he agrees
that in the event the Court sentences him consistent with the Plea Agreement,
then he expressly waives his right to appeal the conviction and sentence

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imposed in this case on any ground, including the right to appeal conferred by
Title 18, United States Code, Section 3742. Additionally, ROBERT JOSEPH
HOWELL expressly agrees not to contest, or seek to modify, his conviction or
his sentence or the manner in which it was determined in any proceeding,
including, but not limited to, an action brought under 28 U.S.C. § 2255. This
Section 2255 waiver does not encompass claims that ROBERT JOSEPH ~
HOWELL received ineffective assistance of counsel in the negotiation of the plea
or plea agreement

12. Pursuant to Section 6B1.4 of the Sentencing Guidelines, the
parties agree to the stipulation below. The parties are free to argue the
applicability of any other sentencing guidelines provisions not inconsistent with
these stipulations. The parties understand and agree that this stipulation is
binding on the parties but is only a recommendation to the Court and that the
Court will determine the advisory sentencing guidelines applicable in this case.
The parties agree that no stipulation regarding any factors in Chapter 4,
Criminal History Category, of the sentencing guidelines has been made and
that such determination will be made by the Court:

a. Base Offense Level (2T1.1 and 2T4.1(E)) 14

b. Acceptance of Responsibility (3E1.1(a)) -2

13. ROBERT JOSEPH HOWELL acknowledges that no threats,
promises, or representations have been made, nor agreements reached, other
than those set forth in this document, to induce ROBERT JOSEPH HOWELL to
plead guilty. This document is the complete and only Plea Agreement between

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the Defendant and the United States Attorney for the Southern District of
Indiana and is binding only on the parties to this agreement, supersedes all
prior understandings, if any, whether written or oral, and cannot be modified
except in writing, signed by all parties and filed with the Court, or on the
record in open Court. —

Respectfully submitted,

JOSH J. MINKLER
Acting United States Attorney

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Assistant United States Attorney

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Date

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Date Robert Jose well
Defendant
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STATEMENT OF THE DEFENDANT

I have read the entire Plea Agreement.

I understand all the terms of the Plea Agreement and those terms
correctly reflect the results of plea negotiations.
I am freely and voluntarily pleading guilty in this case. )
Iam pleading guilty as set forth in this Plea Agreement because I am
guilty of the crime(s) to which I am entering my plea(s).
I understand that I have the right to appeal any conviction and sentence
that I receive, unless I have waived my right to appeal as part of this Plea
Agreement. If I have not waived my right to appeal, I understand that I must
file a Notice of Appeal within 14 days of the entry of the judgment in this case; I
further understand that the Clerk of the Court will prepare and file a Notice of
Appeal on my behalf if I ask that to be done. I also understand that the United
States has the right to appeal any sentence that I receive under this Plea
Agreement.
Finally, I understand that if I provide or cause to be provided materially
false information to a judge, magistrate-judge, or probation officer, then
Section 3C1.1 of the Sentencing Guidelines allows the Court to impose a two

(2) level increase in the offense level.

otlos/aes Red LL. LLL

Date Robert J: oseph Hdwell
Defendant

